      Case 2:05-cr-00138-MHT-CWB Document 9 Filed 07/18/05 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT FOR
                       THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                )
                                        )
      v.                                )            CR. NO. 2:05-cr-138-T
                                        )               (WO)
DI’MITRI RAY HENDERSON                  )


                                      ORDER

      Upon consideration of the Motion for Leave to Dismiss Indictment, heretofore filed

on May 25, 2005, in the above styled cause, and for good cause shown, SUPERSEDING

IN D ICTMENT FILED ON JUNE 29, 2005, the Court is of the opinion that the motion

should be and the same hereby is granted. It is, therefore, CONSIDERED, ORDERED,

ADJUDGED AND DECREED by the Court that said motion be and the same is hereby

granted.

      DONE, this the 18th day of July, 2005.


                                              /s/ Myron H. Thompson
                                        UNITED STATES DISTRICT JUDGE
